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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE


 PACIFIC BIOSCIENCES OF                 )
 CALIFORNIA, INC.,                      )
                                        )
                 Plaintiff,             )     C.A. No . 17-cv-275-LPS
                                        )     C.A. No. 17-cv-1353-LPS
        v.                              )
                                        )
 OXFORD NANOPORE TECHNOLOGIES,          )
 INC., and OXFORD NANOPORE              )
 TECHNOLOGIES, LTD.,                    )
                                        )
                 Defendants.
                                        )

                               VERDICT FORM
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        Instructions: When answering the following questions and completing this Verdict Form,

please follow the directions provided throughout the form. Your answer to each question must be

 unammous. Please refer to the Jury Instructions for guidance on the law applicable to each

 question.

        You should answer all of questions 1 to 22.         Questions 23-25, about willfulness and

 damages, should only be answered if for any one or more of the patents you find that there is at

 least one asserted claim of that patent that is infringed and not invalid.




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                               QUESTIONS AND ANSWERS
 I. Infringement

               A. U.S. Patent No. 9,546,400 (the "'400 Patent")


  1.   Has plaintiff, Pacific Biosciences of California, Inc. ("PacBio"), proven by a

       preponderance of the evidence that defendants, Oxford Nanopore Technologies, Inc., and

       Oxford Nanopore Technologies, Ltd. ("Oxford"), directly infringed any of the following

       claims of the '400 Patent?

       For each asserted claim please check "Yes " or "No " below.

                                    Yes (PacBio)            . No (Oxford)


          a.       Claim 1              ✓
          b.       Claim 4              ✓
          C.       Claim 15             ✓

  2.   Has PacBio proven by a preponderance of the evidence that Oxford induced infringement

       of any of the following claims of the '400 Patent?

       For each asserted claim please check "Yes " or "No" below.

                                    Yes (PacBio)              No (Oxford)


         a.        Claim 1              ✓
         b.        Claim4                ✓
         C.        Claim 15             ✓




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  3.   Has PacBio proven by a preponderance of the evidence that Oxford contributed to the

       infringement of any of the following claims of the '400 Patent?

       For each asserted claim please check "Yes " or "No " below.

                                    Yes (PacBio)              No (Oxford)


          a.      Claim 1                ✓
          b.      Claim 4                J
          C.      Claim 15               J

               B. U.S. Patent No. 9,772,323 (the "'323 Patent")


  4.   Has PacBio proven by a preponderance of the evidence that Oxford directly infringed any

       of the following claims of the '323 Patent?

       For each asserted claim please check "Yes " or "No " below.

                                    Yes (PacBio)              No (Oxford)


          a.      Claim 1               J
          b.      Claim4                J
          C.      Claim 18              ✓




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  5.   Has PacBio proven by a preponderance of the evidence that Oxford induced infringement

       of any of the following claims of the '323 Patent?

       For each asserted claim please check "Yes " or "No " below.

                                    Yes (PacBio)             No (Oxford)


          a.      Claim 1                ✓
          b.      Claim 4                ✓
          C.      Claim 18               j
  6.   Has PacBio proven by a preponderance of the evidence that Oxford contributed to the

       infringement of any of the following claims of the '323 Patent?

       For each asserted claim please check "Yes " or "No" below.

                                    Yes (PacBio)              No (Oxford)


          a.      Claim 1               ✓
          b.      Claim 4                ✓
          C.      Claim 18               ✓




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               C. U.S. Patent No. 9,678,056 (the "'056 Patent")


  7.   Has PacBio proven by a preponderance of the evidence that Oxford directly infringed any

       of the following claims of the '056 Patent?

       For each asserted claim please check "Yes " or "No " below.

                                    Yes (PacBio)            No (Oxford)


          a.      Claim 1                ✓
          b.      Claim 2                J
          C.      Claim 12              ✓

  8.   Has PacBio proven by a preponderance of the evidence that Oxford induced infringement

       of any of the following claims of the '056 Patent?

       For each asserted claim please check "Yes " or "No" below.

                                    Yes (PacBio)            No (Oxford)


          a.      Claim 1                ✓
          b.      Claim 2                ✓
          C.      Claim 12               ✓




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  9.    Has PacBio proven by a preponderance of the evidence that Oxford contributed to the

        infringement of any of the following claims of the '056 Patent?

        For each asserted claim please check "Yes " or "No" below.

                                     Yes (PacBio)              No (Oxford)


           a.      Claim 1                J_
           b.      Claim 2                 ✓
           C.      Claim 12               J

                D. U.S. Patent No. 9,738,929 (the "'929 Patent")


  10.   Has PacBio proven by a preponderance of the evidence that Oxford directly infringed any

        of the following claims of the '929 Patent?

        For each asserted claim please check "Yes" or "No" below.

                                     Yes (PacBio)              No (Oxford)


           a.      Claim 1                                         ✓
          b.       Claim 2                                         j
           C.      Claim 10                                         ✓




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  11.   Has PacBio proven by a preponderance of the evidence that Oxford induced infringement

        of any of the following claims of the '929 Patent?

        For each asserted claim please check "Yes " or "No " below.

                                     Yes (PacBio)              No (Oxford)


           a.      Claim 1                                         ✓
           b.      Claim 2                                         ✓
           C.      Claim 10                                        ✓

  12.   Has PacBio proven by a preponderance of the evidence that Oxford contributed to the

        infringement of any of the following claims of the '929 Patent?

        For each asserted claim please check "Yes " or "No " below.

                                     Yes (PacBio)              No (Oxford)


           a.      Claim 1                                          ✓
           b.      Claim 2                                          J
           C.      Claim 10                                        ✓




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II.     Invalidity

                A. '400 Patent


                Written Description

  13.   Has Oxford proven by clear and convincing evidence that any of the following claims of

        the '400 Patent are invalid because they lack adequate written description?

        For each asserted claim please check "Yes " or "No " below.

                                      Yes (Oxford)             No (PacBio)


           a.        Claim 1                                         ✓
           b.        Claim 4                                        ✓
           C.        Claim 15                                       ✓


                Enablement

  14.   Has Oxford proven by clear and convincing evidence that any of the following claims of

        the '400 Patent are invalid because they are not enabled?

        For each asserted claim please check "Yes " or "No " below.

                                      Yes (Oxford)             No (PacBio)


           a.        Claim 1              ✓
           b.        Claim 4              ✓
           C.        Claim 15             ✓




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                B. '323 Patent


                Written Description

  15.   Has Oxford proven by clear and convincing evidence that any of the following claims of

        the '323 Patent are invalid because they lack an adequate written description?

        For each asserted claim please check "Yes " or "No " below.

                                      Yes (Oxford)             No (PacBio)


           a.      Claim 1                                          ✓
           b.      Claim 4                                          J
           C.      Claim 18                                         j

                Enablement

  16.   Has Oxford proven by clear and convincing evidence that any of the following claims of

        the '323 Patent are invalid because they are not enabled?

        For each asserted claim please check "Yes " or "No " below.

                                      Yes (Oxford)             No (PacBio)


           a.      Claim 1                J
           b.      Claim 4                ✓
           C.      Claim 18              ✓




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                C. '056 Patent


                Written Description

  17.   Has Oxford proven by clear and convincing evidence that any of the following claims of

        the '056 Patent are invalid because they lack adequate written description?

        For each asserted claim please check "Yes " or "No" below.

                                      Yes (Oxford)             No (PacBio)


           a.      Claim 1                 j
           b.      Claim 2                                          ✓
           C.      Claim 12                                         ✓

                Enablement

  18.   Has Oxford proven by clear and convincing evidence that any of the following claims of

        the '056 Patent are invalid because they are not enabled?

        For each asserted claim please check "Yes" or "No" below.

                                      Yes (Oxford)             No (PacBio)


           a.      Claim 1                j
           b.      Claim 2               ✓
           C.      Claim 12             ✓




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                Indefiniteness

  19.   Has Oxford proven by clear and convincing evidence that any of the following claims of

        the '056 Patent are invalid because they are indefinite?

        For each asserted claim please check "Yes " or "No " below.

                                     Yes (Oxford)                  No (PacBio)


           a.      Claim 1                /
           b.      Claim 2                                            ✓
           C.      Claim 12                                          ✓


                D. '929 Patent


                Obviousness

  20.   Has Oxford proven by clear and convincing evidence that any of the following claims of

        the '929 Patent are invalid because the subject matter would have been obvious?

        For each asserted claim please check "Yes " or "No " below.

                                     Yes (Oxford)                  No (PacBio)


           a.      Claim 1               ✓
           b.      Claim 2               ✓
           C.      Claim 10              ✓




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                 Written Description

  21 .   Has Oxford proven by clear and convincing evidence that any of the following claims of

         the '929 Patent are invalid because they lack adequate written description?

         For each asserted claim please check "Yes " or "No " below.

                                       Yes (Oxford)             No (PacBio)


            a.      Claim 1                                          ✓
            b.      Claim 2                                          ✓
            C.      Claim 10                                         J
                 Enablement

  22.    Has Oxford proven by clear and convincing evidence that any of the following claims of

         the '929 Patent are invalid because they are not enabled?

         For each asserted claim please check "Yes" or "No " below.

                                       Yes (Oxford)             No (PacBio)


            a.      Claim 1                ✓
            b.      Claim 2                ✓
            C.      Claim 10                                         7




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 ID.    WILLFULNESS

        Directions: Iffor any asserted claim(s) of the patents, you answered "Yes" as to any type

 of infringement and "No" as to invalidity for all questions that pertain to that particular asserted

 claim, please answer the question below.



        23.     Has PacBio proven by a preponderance of the evidence that Oxford willfully

                infringed any valid asserted claim?



                                             Yes (PacBio)              No (Oxford)




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 IV.    DAMAGES

        Directions: Jffor any asserted claim(s) of the patents, you answered "Yes" as to any type

 of infringement and "No " as to invalidity for all questions that pertain to that particular asserted

 claim, please answer the questions below.



        24.     Has PacBio proven by a preponderance of the evidence that it is entitled to lost

                profits as a result of Oxford' s infringement?

                                             Yes (PacBio)               No (Oxford)




        25.     What damages has PacBio proven by a preponderance of the evidence that it is

                entitled to as a result of Oxford' s infringement?

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                                                ------------




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                                      UNANIMOUS VERDICT
        UPON REACHING A UNANIMOUS VERDICT ON EACH QUESTION ABOVE,

 EACH JUROR MUST SIGN BELOW.

        We, the jury, unanimously agree to the answers to the above questions and return them

 under the instructions of this Court as our verdict in this case.

             March \8, 2020




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         V                        V   -




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